                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
LKG/AS                                                271 Cadman Plaza East
F#: 2015R01691                                        Brooklyn, New York 11201

                                                      January 15, 2019

By Hand and ECF

The Honorable Carol B. Amon
United States District Court Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Scott Brettschneider, et al.
                       Criminal Docket No. 18-123 (CBA)

Dear Judge Amon:

              The government respectfully submits this letter in advance of defendant
Reginald Shabazz-Muhammad’s sentencing, scheduled for January 25, 2019, at 10:00 a.m.
For the reasons set forth below, the government recommends that the Court sentence the
defendant within the applicable 0 to 6 months Guidelines range.

I.     Background

               The defendant pled guilty to Count Two of a two-count indictment, for making
false statements to the Bureau of Prisons (“BOP”). Presentence Investigation Report
(“PSR”) ¶ 1. The charge stemmed from a letter the defendant wrote on behalf of a
sentenced federal inmate, co-defendant Richard Marshall, to assist Marshall in fraudulently
gaining entry into the Residential Drug Abuse Program (“RDAP”). Id. RDAP is a treatment
program sponsored by the BOP and is available to sentenced inmates who have a verifiable
diagnosis of a substance use disorder within the year preceding their arrest.1 Id. ¶ 3. An
inmate who successfully completes the RDAP program is eligible for early release, receiving
as much as a year off his sentence. Id. ¶ 3, n.1.


       1
          The BOP uses the one-year demarcation point because, according to the DSM-V, an individual
is in remission for substance use disorder if they go a year without abusing such substances.
               At the time, Marshall was in custody following his conviction in United States
v. Wright et al., 12-CR-014 (N.D.N.Y) (FJS), a 16-defendant drug conspiracy case. In
Wright, Marshall was charged and pled guilty to distributing at least 280 grams of crack
cocaine, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A). Scott
Brettschneider—another co-defendant in this case—represented Marshall in Wright. And at
the time the defendant authored the fraudulent letter to BOP, he was employed by
Brettschneider as a paralegal. Id. ¶ 64.

              Despite what the letter said, the defendants charged in this case knew that
Marshall did not have a recent history of substance or alcohol abuse. In his sentencing
submission in Wright, Brettschneider asked that Marshall be sentenced to home or
community confinement, which could include an alcohol or drug rehabilitation center. Id.
Docket Entry No. 336 at 6. The request was based on the non-violent conduct for which
Marshall had been convicted and his criminal history, rather than any history of substance
abuse. Brettschneider also submitted a report (publicly-available) from a psychologist who
evaluated Marshall. The report stated that after recovering from depression earlier in his life,
Marshall had been “clean and sober for over 20 years.” Id. Docket Entry No. 338 at 6. At
sentencing, Brettschneider told the court that he had known Marshall for 20 years and
represented that in that time, Marshall had led a “clean life,” free of crimes save for a 2007
marijuana arrest. Marshall was sentenced in August 2014 to 36 months’ imprisonment.2

               Shortly after Marshall began his term of incarceration, the defendants in the
instant case submitted the fraudulent letter to the BOP stating Marshall had an active drug
dependence on alcohol and marijuana. They did it because, as co-defendant Charles
Gallman put it on a phone call, a letter like that would “knock a year off [Marshall’s]
sentence,” but, he added, would cost $300.

                 The plot to obtain the fraudulent letter was revealed on intercepted calls
obtained through a wiretap authorized by a state court on Gallman’s phone. In an October
24, 2014 call, Marshall explained to Brettschneider that he needed a letter from a “drug
program,” to which Brettschneider responded, “alright, alright, we’ll work on that Monday.
Ok I know who to talk to.” Marshall outlined to Brettschneider what he wanted from the
letter: it had to be on the letterhead to “look real official [be]cause they don’t want no
bullshit over here. Well listen, it can’t be . . . for the last year, it’s got to be a year before,
you know, before I got locked up, within that year so.” Brettschneider knew the year,
“2011,” he confirmed. Continuing his instructions, Marshall noted that the letter should state
that he has been “drinking forever,” even before the arrest, and that he was “relapsing and
stuff.” He implored Brettschneider to get the letter quickly so that it would get him out of
prison earlier, “next year,” he believed.



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         Marshall escaped the statutory mandatory minimum penalty because he was eligible for and
received “safety valve” treatment pursuant to (l)-(5) of subsection (a) of § 5C1.2 (Limitation on
Applicability of Statutory Minimum Sentences in Certain Cases).

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                 In the three-way call, Gallman reassured Marshall that “we’ll get it to you next
week,” a belief Brettschneider echoed (“alright, we’ll get it” and, later, “I am on it, I am on
it, I’ll take care of it for Tuesday”). Later, Brettschneider told Marshall that he found the
person who would author this fraudulent letter. “He’s gonna do it,” Brettschneider said,
referring to the person he apparently had recruited on short notice. As it turned out, the
person who would write about Marshall’s prior drug treatment was the defendant Shabazz-
Muhammad—one of Brettschneider’s legal assistants.3

               That same month, in November 2014, United States Penitentiary Lewisburg
received a letter signed by “Reginald Shabazz-Muhammad, CASAC CLA, Director Of
Program Services,” detailing Marshall’s purported treatment at the “Muhammad Mosque No.
7.” The letter, dated November 6, 2014, was postmarked November 20, 2014, from Jamaica,
Queens. It stated that Marshall was involved in an outpatient program described as a
“community outreach program” run by Muhammad Mosque No. 7 from October 2003
through January 2010, and explained that Marshall was “suffering from active drug
dependence, namely alcohol and marijuana.” The letter, prepared by the defendant, stated
that Marshall had been “making progress gradually reducing his active substance
dependence.”

              About two weeks passed before Marshall called Gallman again, on December
5, 2014. Marshall explained that the BOP required progress reports4 to accompany the letter.
Gallman believed those could be fabricated too: “Ok she wants progress notes so we got to
find somebody to make them up”; he promised to follow up with “Scott’s [Brettschneider]
man.” Marshall offered to send Gallman samples from a fellow inmate, to give a “general
idea” of what the progress reports should look like. On the same day, Marshall called
Gallman to add another complaint: the January 2010 date in the letter, describing when the
Marshall had received treatment, is “not gonna fly” because “it’s gotta be a year within
[when] I got arrested, so it has to be like 2011 in the summer time.” Marshall continued
“brainstorming” about creating progress reports and requested that he not just have a report
about one session. Gallman agreed that they would “spread it out over a period of time.”

               The following day, Marshall told Gallman that he forwarded two samples “to
show what a dude had to do while he was here” to get into the program, though Marshall
recommended that they “put it in your own language.” Brettschneider joined the call and
immediately asked Marshall if he had gotten into the drug program. Marshall responded that
he still needed to produce progress reports. Brettschneider sounded optimistic: “I’m sure he
must have session notes.” Marshall added that the treatment period in the letter should also

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          Brettschneider would later describe Shabazz-Muhammad as a dependable worker, willing to do
hours of grunt work: “He’s a guy that he’ll stand there copy 500 pages for me and put together a loose
leaf, you know, for trial.”
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          Progress reports, also referred to as session notes, are contemporaneous notes made by the
treatment provider documenting that the service provider delivered certain diagnostic and/or treatment
services to an individual.

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be changed to end in 2011 because “it gotta be a year prior to my arrest.” Brettschneider
responded “let me talk to him, let me reach out to him on Tuesday.” Marshall added that the
treatment period in the letter should also be changed to end in 2011 because “it gotta be a
year prior to my arrest.” Brettschneider responded “let me talk to him, let me reach out to
him on Tuesday.”

               Despite repeated attempts by Gallman, however, by this point the defendant
stopped returning his calls. Gallman and Brettschneider described how odd it was that the
usually-dependable defendant had gone missing, though Brettschneider also recognized that
what Marshall was “looking for . . . that’s not really that easy to—.” Marshall was ultimately
not able to secure the progress reports and did not get into the program.

II.    Applicable Law

                “[A] district court should begin all sentencing proceedings by correctly
calculating the applicable Guidelines range. As a matter of administration and to secure
nationwide consistency, the Guidelines should be the starting point and the initial
benchmark.” Gall v. United States, 552 U.S. 38, 49 (2007) (citation omitted); see also
United States v. Booker, 125 S. Ct. 738, 743 (2005) (although the Guidelines are advisory,
district courts are still “require[d] . . . to consider Guidelines ranges” in determining a
sentence).

               Next, courts should “consider all of the § 3553(a) factors to determine whether
they support the sentence requested by a party. In so doing, [it] may not presume that the
Guidelines range is reasonable. [It] must make an individualized assessment based on the
facts presented.” Gall, 552 U.S. at 50 (citation and footnote omitted). Section 3553(a)
requires courts to “impose a sentence sufficient, but not greater than necessary, to comply
with the purposes of [18 U.S.C. § 3553(a)(2)].” The factors courts shall consider in
imposing sentence include “the nature and circumstances of the offense and the history and
characteristics of the defendant,” 18 U.S.C. § 3553(a)(1), as well as the need for the sentence
imposed to:

              (A)     to reflect the seriousness of the offense, to promote
                      respect for the law, and to provide just punishment for
                      the offense;

              (B)     to afford adequate deterrence to criminal conduct;

              (C)     to protect the public from further crimes of the
                      defendant; and

              (D)     to provide the defendant with needed educational or
                      vocational training, medical care, or other correctional
                      treatment in the most effective manner[.]


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18 U.S.C. § 3553(a)(2).

              In addition, 18 U.S.C. § 3661 provides that, “No limitation shall be placed on
the information concerning the background, character, and conduct of a person convicted of
an offense which a court of the United States may receive and consider for the purpose of
imposing an appropriate sentence.”

III.   Guidelines Calculations

              The government submits that the Guidelines calculation set forth in the PSR
and the plea agreement should be applied, resulting in an advisory Guidelines range of 0-6
months, based on the following calculation:

       Base Offense Level (§ 2B1.1(a)(2))                                              6

       Less: Acceptance of Responsibility (§ 3E1.1(a))                                 -2

       Total:                                                                           4

IV.    Discussion

               The “history and characteristics of the defendant,” 18 U.S.C. § 3553(a)(1),
and the need for general and specific deterrence, 18 U.S.C. § 3553(a)(2), weigh in favor of
incarceration. The Court must send a message to deter others from assisting other
defendants in fraudulently gaining entry into the RDAP program to shave time from their
sentence. As the Court is aware, many defendants assert at sentencings that they need drug
treatment—often citing self-reported histories of abuse—and ask that the district judge
recommend to the BOP that it provide such treatment. The government almost never
opposes because it rarely has evidence refuting defendants’ assertions. Still more
defendants, like Marshall, apply for the RDAP without having made any record of substance
abuse at sentencing. Either way, the BOP is left without any meaningful way to fully vet the
thousands of applications that it fields from applicants. See, e.g., United States v.
McDonough, 233 F. Supp. 3d 231, 236, 239 (D. Mass. 2017) (quoting testimony of BOP
doctor recognizing that inmates have an “incentive to lie to get into the program and obtain a
reduction in their sentence,” and noting that the defendant had been improperly admitted into
the RDAP program).

              In this case, the Queens County District Attorney’s Office happened to be
wiretapping Gallman’s phone because he was committing witness tampering with criminal
defense attorneys. It stumbled on the RDAP-related fraud during the course of this
interception—a fortuitous discovery that this particular defendant is unlikely to repeat.
Nevertheless, there is a significant value in sending a message to others in the legal
community that committing fraud on the BOP will have serious consequences. It may be the
only mechanism to discourage this crime.


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               Deterrence is also needed to support a worthy BOP program that provides the
treatment many defendants need to rehabilitate. The incentive of earlier release encourages
defendants to self-report substance abuse, and seek and complete treatment. Without
punishing individuals like the defendant who try to game the system, the BOP would fill
precious spots meant for inmates in need of treatment with inmates like Marshall who simply
want to serve less time than what they had been sentenced to.

                 The defendant is keenly aware of the scarce resources that are well-spent on
defendants battling substance abuse. The defendant—now a four-time convicted felon—is a
recovering addict himself, who has helped others battling the same problem. With that
history, it is concerning that the defendant committed the instant offense in his 60s simply
because, as he puts it, he was “tasked by his employer Mr. Brettschneider to complete the
letter[.]” Def. Ltr. at 2.

               The defendant put time and effort into doctoring the letter to make it look
convincing. He held himself out as the “Director of Program Services” at the Mohammad
Mosque No. 7, which is in fact a legitimate mosque in Manhattan. Yet according to the
defendant’s employment record, he never worked at that mosque. See PSR ¶¶ 63-66. In the
fraudulent letter, the defendant not only lied about who he was and where he worked, but he
also lied about his familiarity with Marshall’s purported history of drug and alcohol
dependence. Id. ¶ 8.

                Nevertheless, as it did with Marshall, the government is not taking a position
where within the Guideline range the Court should sentence the defendant. As with
Marshall, the defendant’s record and the need for general deterrence compelled the
government to insist on a plea agreement that allowed it to make a specific recommendation.
But a review of the PSR and the defendant’s submission, offer reasons not to incarcerate the
defendant. The defendant has maintained steady employment for the last decade and has
even managed to continue supporting himself through contract work through the pendency of
this case. Id. ¶ 63. The defendant’s criminal record—which shows a break from criminal
activity in his mid-30s to his early 60s—and work history show that the defendant has long
been on the right track, before his employer, Brettschneider, asked him to commit a federal
felony. Additionally, the defendant apparently saw the error of his ways and cut off contact
with Gallman when Gallman and Brettschneider asked him to perpetuate the fraud by
creating false session notes. As a result, the government is not taking a position where
within the applicable Guidelines’ range the Court should sentence the defendant.




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V.     Conclusion

              For the reasons set forth above, the government respectfully submits that the
Court sentence the defendant to a sentence within the 0-6 months’ Guidelines range.


                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:                 /s/
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cc: Donald duBoulay, Esq. (by ECF)
    Clerk of the Court (CBA) (by ECF)




                                              7
